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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 INGENUS PHARMACEUTICALS, LLC,

                       Plaintiffs,

               v.                                       C.A. No. 24-1025-JLH

 HETERO USA, INC., HETERO LABS LTD.,
 and HETERO LABS LTD. UNIT-VI,

                       Defendant.

                MOTION AND ORDER FOR ADMISSIONS PRO HAC VICE

        Pursuant to D. Del. LR 83.5 and the attached certifications, counsel moves for the

 admissions pro hac vice of Michael R. Dzwonczyk, John T. Callahan, Chidambaram S. Iyer, and

 Lawrence Roman Rachuba II of Sughrue Mion PLLC, 2000 Pennsylvania Ave., N.W., Suite 900,

 Washington, D.C. 20006 to represent Plaintiffs Ingenus Pharmaceuticals, LLC in the above-

 captioned matter.



Dated: September 25, 2024                        SMITH, KATZENSTEIN & JENKINS LLP

                                                 /s/ Daniel A. Taylor
                                                 Neal C. Belgam (No. 2721)
                                                 Daniel A. Taylor (No. 6934)
                                                 1000 West Street, Suite 1501
                                                 Wilmington, DE 19801
                                                 (302) 652-8400
                                                 nbelgam@skjlaw.com
                                                 dtaylor@skjlaw.com

                                                 Attorneys for Plaintiff Ingenus
                                                 Pharmaceuticals, LLC
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                            ORDER GRANTING MOTION

      IT IS HEREBY ORDERED counsel’s Motion for Admissions Pro Hac Vice of Michael

R. Dzwonczyk, John T. Callahan, Chidambaram S. Iyer, and Lawrence Roman Rachuba II is

GRANTED.


Dated: September __, 2024

                                         __________________________________________
                                         United States District Judge




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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of Pennsylvania,

the District of Colombia, the United States Court of Appeals for the Federal Circuit, the United

States District Court for the Southern District of Georgia, the United States District Court for the

Eastern District of Texas, the United States District Court for the Western District of Michigan,

the Supreme Court of the United States, and the United States Patent and Trademark Office.

Pursuant to Local Rule 83.6, I submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am

generally familiar with this Court’s Local Rules. In accordance with the Court’s Standing Order

In re: Attorney Registration and Pro Hac Vice Fees effective January 1, 2024, I further certify

that the fee of $50.00 has been paid to the Clerk of Court, or, if not paid previously, the fee

payment will be submitted to the Clerk’s Office upon the filing of this motion.



Dated: September 25, 2024
                                              /s/ Michael R. Dzwonczyk
                                              Michael R. Dzwonczyk
                                              SUGHRUE MION PLLC
                                              2000 Pennsylvania Ave., N.W., Suite 900
                                              Washington, D.C. 20006
                                              Telephone: (202) 293-7060
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          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the District of Colombia, the

United States Court of Appeals for the Federal Circuit, and the United States Patent and

Trademark Office. Pursuant to Local Rule 83.6, I submit to the disciplinary jurisdiction of this

Court for any alleged misconduct which occurs in the preparation or course of this action. I also

certify that I am generally familiar with this Court’s Local Rules. In accordance with the Court’s

Standing Order In re: Attorney Registration and Pro Hac Vice Fees effective January 1, 2024, I

further certify that the fee of $50.00 has been paid to the Clerk of Court, or, if not paid

previously, the fee payment will be submitted to the Clerk’s Office upon the filing of this

motion.



Dated: September 25, 2024
                                               /s/ John T. Callahan
                                               John T. Callahan
                                               SUGHRUE MION PLLC
                                               2000 Pennsylvania Ave., N.W., Suite 900
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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of New York, the

District of Colombia, and the United States Patent and Trademark Office. Pursuant to Local

Rule 83.6, I submit to the disciplinary jurisdiction of this Court for any alleged misconduct

which occurs in the preparation or course of this action. I also certify that I am generally

familiar with this Court’s Local Rules. In accordance with the Court’s Standing Order In re:

Attorney Registration and Pro Hac Vice Fees effective January 1, 2024, I further certify that the

fee of $50.00 has been paid to the Clerk of Court, or, if not paid previously, the fee payment will

be submitted to the Clerk’s Office upon the filing of this motion.



Dated: September 25, 2024
                                              /s/ Chidambaram S. Iyer
                                              Chidambaram S. Iyer
                                              SUGHRUE MION PLLC
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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of Maryland, the

District of Colombia, the United States District Court for the District of Delaware, the United

States District Court for the Western District of Texas, the United States District Court for the

Eastern District of Michigan, the United States District Court for the Middle District of North

Carolina, and the United States Patent and Trademark Office. Pursuant to Local Rule 83.6, I

submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in

the preparation or course of this action. I also certify that I am generally familiar with this

Court’s Local Rules. In accordance with the Court’s Standing Order In re: Attorney Registration

and Pro Hac Vice Fees effective January 1, 2024, I further certify that the fee of $50.00 has been

paid to the Clerk of Court, or, if not paid previously, the fee payment will be submitted to the

Clerk’s Office upon the filing of this motion.



Dated: September 25, 2024
                                                 /s/ Lawrence Roman Rachuba II
                                                 Lawrence Roman Rachuba II
                                                 SUGHRUE MION PLLC
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